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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF NEW JERSEY

                                              :
  IN RE: ELMIRON (PENTOSAN                    :
  POLYSULFATE SODIUM)                         :   Case No. 2:20-md-02973 (BRM)(ESK)
  PRODUCTS LIABILITY                          :   MDL NO. 2973
  LITIGATION                                  :
                                              :
  THIS DOCUMENT RELATES TO:                   :   JUDGE BRIAN R. MARTINOTTI
  ALL CASES                                   :   JUDGE EDWARD S. KIEL
                                              :

                                          Hearing Order
         A telephonic conference was held on May 31, 2022 to discuss the status of Bellwether
  discovery and trials. It is now HEREBY ORDERED:
     1. The Court has reviewed the defense selected case of Opal Broussard v. Janssen
        Pharmaceuticals, Inc, et al, 21-cv-02028, and the Court has decided to strike it from the
        Bellwether Trial Pool.

     2. The Court will permit Defendants to designate and select a replacement Bellwether trial
        case from the remaining pool of Bellwether discovery cases as selected under CMO 17.
        Defendants shall make this selection on or before June 10, 2022.

     3. The case of Maria Windham v. Janssen Pharmaceuticals, Inc, et al, 20-cv-14670, shall
        be the Court’s presumptive first Bellwether trial case in accordance with CMO 17 and
        CMO 17-Amended. The Court recognizes that the Windham case, which the Court
        selected to proceed to trial, was a defense-selected Bellwether discovery case. The
        deadlines and schedule set forth in CMO 17-Amended remain applicable to the Windham
        case only.

     4. The Plaintiffs’ selected Bellwether case (Julia Manning, et al. v. Janssen
        Pharmaceuticals, Inc, et al, 21-cv-11942) and the case to be selected by Defendants on or
        before June 10, 2022, shall be the second and/or third Bellwether trial cases and they will
        proceed along the same schedule leading up to trial. The parties shall meet-and-confer
        regarding a Scheduling Order for these two Bellwether trial cases and present the
        proposed Scheduling Order to the Court in advance of the Case Management Conference
        set for June 8, 2022.


          IT IS SO ORDERED, this 1st day of June 2022.

                 /s/Brian R. Martinotti
                 HON. BRIAN R. MARTINOTTI
                 UNITED STATES DISTRICT JUDGE
